[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]
MEMORANDUM OF DECISION ON MOTION TO CONFIRM AND MOTION TO VACATE AWARD OF ARBITRATORS
These cases are before the court on United States Fidelity  Guaranty Company's motion to vacate the arbitration award in the first case, and the claimants' motion to confirm CT Page 7831 the same arbitration award in the other two cases. Briefly, United States Fidelity  Guaranty Company contends that it was entitled to receive a credit in the amount of the entire sum paid out under the tortfeasor's liability policy and that the arbitrators were incorrect as a matter of law in holding differently. The claimants argue that the arbitrators correctly determined that United States Fidelity  Guaranty Company is entitled only to a credit in the amount that a claimant actually received.
Our Supreme Court, in Stephan v. Pennsylvania General Ins. Co., 224 Conn. 758 (1993), noted that the text of the policy governs this situation. Id., 763. The policy at issue here contains almost identical language to the policies in Guertin v. Holyoke Mutual Ins. Co., 6 Conn. L. Rptr. 127
(March 11, 1993, Meadow, J.) and Shurretto v. Hanover Ins. Co., 6 Conn. L. Rptr. 224 (March 27, 1992, Gaffney, J.). Both those cases concluded that the "bodily injury" referred to in the portion of the insurance contracts allowing the UM carrier a credit in the amount it would pay by an amount equal to that paid by the tortfeasor could only mean the claimant's bodily injury, and thus the UM carrier was only entitled to a credit in the amount paid to the claimant because of their bodily injury Shurretto, supra, 225; Guertin, supra, 128. The court in Stephen, supra, also reached the same conclusion in interpreting a policy involving language similar to that in the instant case. Id., 764-65. That decision, and its companion case Buell v. American Universal Ins. Co., 224 Conn. 766
(1993), compel this court to reach the same conclusion.
Therefore, the arbitrators were correct in concluding that United States Fidelity Guaranty Company is entitled only to a credit in the amount actually paid to the claimant, not an amount equal to the sum paid out under the tortfeasor's policy. Therefore, United States Fidelity Guaranty Company's motion to vacate in United States Fidelity Guaranty Company v. Pitruzzello is denied, and the claimants' motion to confirm the arbitrator's award is granted in the remaining two cases.
It is so ordered.
HIGGINS, J. CT Page 7832